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Prob 12B                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       Kevin ORTON

Docket Number:                       2:03CR00348-04

Offender Address:                    Currently in Custody


Judicial Officer:                    Honorable Frank C. Damrell, Jr.
                                     United States District Judge
                                     Sacramento, California

Original Sentence Date:              05/16/2005

Original Offense:                    18 USC 1028(a)(7) and (b)(2)(B) - Use of False
                                     Identification Documents
                                     (CLASS E FELONY)

Original Sentence:                   5 months custody; 12 months supervised release;
                                     $9,000 restitution; $100 special assessment.

Special Conditions:                  5 months home detention; Financial restrictions and
                                     disclosure; Participate in drug/alcohol testing and
                                     counseling; Co-pay $25 per month for aftercare costs;
                                     Submit to DNA collection.

Type of Supervision:                 Supervised Release

Supervision Commenced:               Scheduled to commence December 4, 2005

Assistant U.S. Attorney:             Daniel S. Linhardt              Telephone: (916) 554-2700

Defense Attorney:                    Timothy L. Zindel               Telephone: (916) 498-5700

Other Court Action:                  None



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                                PETITIONING THE COURT

To modify the conditions of supervision as follows:

      1.       The defendant shall abstain from the use of alcoholic beverages and
               shall not frequent those places where alcohol is the chief item of sale.

      2.       The defendant shall submit to not more than eight (8) drug and
               alcohol tests a month during the period of supervision.


Justification: Mr. Orton will be supervised by the Central District of California upon his
release from custody. They have requested modification of the above conditions so as to
more effectively supervise him in the community. Mr. Orton has agreed to these
modifications and the waiver is on file.

                                  Respectfully submitted,

                                  /s/ Deborah A. Spencer

                                DEBORAH A. SPENCER
                      Supervising United States Probation Officer
                              Telephone: (916) 683-3322


DATED:         October 27, 2005
               Elk Grove, California
               DAS:jz




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THE COURT ORDERS:

(X )   Modification approved as recommended.

( )    Modification not approved at this time. Probation Officer to contact Court.

( )    Other:

November 7, 2005                                /s/Frank C. Damrell, Jr.
Date                                               Signature of Judicial Officer

cc:    United States Probation
       Daniel S. Linhardt, Assistant United States Attorney
       Timothy L. Zindel, Assistant Federal Defender
       Defendant
       Court File

Attachment:     Presentence Report (Sacramento only)




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